Case 2:14-cv-11916-GCS-SDD ECF No. 76-2, PagelD.2429 Filed 03/24/16 Page 1 of 2

EXHIBIT A
Case 2:14-cv-11916-GCS-SDD ECF No. 76-2, PagelD.2430 Filed 03/24/16 Page 2 of 2

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. 2, Modiles, and rofergnees. To denim our recent atler of amployment, | have ilsied the following detalls for your review: i
Employment Date! hlonday, May 16, 2071 . :
Poritiam © - - Laboratory Assistant “

. Status: - + Fall-lime

Beneflta: - Full-ilirta .
Hourty Rate: : $34.00 . *
Permanent Shift: r Bays . ™ z
DoparimanfUnit:  * Laboratory Quireach — Henry Fard Health Sysian ‘
Supervisor: Flana Bork (248) 372-1000 ’ z
Yoursrlentatlon sabeduig iam fullows! 5
“4Systdm Origgtalion: Monday, Mav 16,2011. af the One Ferd Place facility frarn 8:00 srt, to 12:00 pom, Please dregs In buslhass
cesval alta. You should pars fn the Patient Visiter lot off Thin Avenue. inform security thet you are there for New ine Grentation,
‘fou wall redeive your badge of thle day. (You will have fo complete certain education modules by 12:00 Noon May 72> Mors

information wilt be glvon to you.} Plaszse note in order for the completed WOW seasion fo appeor on Vout fransérpt and t
rocelva your cunpietloen certiiicatas (which'dre to be printed and giver te your atipervisor ss proof for being patd fur your :
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“Sle Oplentation: Tugaday, May 17, 2644, at Honry Ford Hozplial Detro]{ Campus in tha Buarki Audigorium fromm #06 an. ics
22:00 bent, All ftegpltal and Heath Network employees must aloo attond the sie Srientotlon, Plaage dress In business causal alira
and wear your 10 Badge, For thoes emplayees win do aol hove essigned parting at the tina of the orentation, they shedic pavgely
the One Porg Place PaifentVisHor lot and usd the Henry Ford ehultlé ou Iranaportetion to ond fron the campus, ®

Call yeur meneger prlor to your start dale te check on your soherdule for Tuesday altemoon, May 47, 2011.

Plonno sign and return one copy of this loter and fax ttle me at (13) 874-7908 and Reop angthor for your reeorda. Ifyou fave any

oa. about ihe ooncigone of your employment or raquira addibonat Information, please feel free to call me at your eenvenience at
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Sincerely, . | mere . ‘

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